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2AO450 (Rev. 5/85) Judgment in a Civil Case


                                    UNITED STATES DISTRICT COURT
                                                                                                    Nevada
                                                               DISTRICT OF

        Debra Pittman, et al.,
                                                                                JUDGMENT IN A CIVIL CASE
                                                 Plaintiffs,
                             V.
        Westgate Planet Hollywood Las Vegas, LLC                                Case Number: 2:09-cv-00878-PMP-GWF
        et al.,

                                               Defendants.

  Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury has d
d rendered its verdict.

  Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and a
d decision has been rendered.

  Notice of Acceptance with Offer of Judgment. A notice of acceptance with offer of judgment has been filed in this
d case.

   IT IS ORDERED AND ADJUDGED
that judgment is in favor of Plaintiff's and against Defendants. The Court shall retain jurisdiction for the purpose of
enforcing any terms of Order [279] and the parties' Stipulation ]271]. Defendants shall pay to Plaintiffs' counsel the
attorney's fee specified by paragraph 8 of the [271] Stipulation within 35 days of the entry of [279] Order.




                            9/4/2014                                   /s/ Lance S. Wilson

 Date                                                                   Clerk

                                                                       /s/ D. Johnson
                                                                        (By) Deputy Clerk
